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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION




    O M A R SA N TO S and A M A N D A C L E M E N TS   C ase N o 1:19-cv-230 8 4-KM W
    on behalf of themselves and allothers similarly
    situ ated ,

                   P laintiffs,

           vs.

    H E A L TH C A RE RE V E N UE RE C O V E RY
    GRO UP ,L L C d /b/aA RS A C C O UN T
    RE SO L UTIO N SE RV IC E S and E X P E RIA N
    IN FO RM A TIO N SO L UTIO N S,IN C .,

                D efend ants.
    _____________________________________/


    DECLARATION OF JONAS P. MANN IN SUPPORT OF PLAINTIFFS’ OPPOSITION
    TO DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC’S MOTION
                       FOR SUMMARY JUDGMENT
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          I,J
            onas P .M ann,d eclare as follows:

          1.      Iam an attorney ad mitted to this C ou rtpro hac vice and licensed to practice

   before allcou rts of the State of C alifornia.Ihave personalknowled ge of the followingfacts,and

   if called as awitness,Icou ld and wou ld testify competently to them.Iam an attorney withthe

   law firm of B aron & B u d d ,P .C .,cou nselof record forP laintiffs O marSantos and A mand a

   C lements (“P laintiffs”
                          ).Imake this d eclaration in su pportof P laintiffs’O pposition to D efend ant

   H ealthcare Revenu e Recovery Grou p,L L C ’s (“H RRG”
                                                        )motion forsu mmary ju d gment.

          2.      A ttached hereto as E x hibit1 is atru e and correctcopy of ex cerpts from the

   d eposition of H RRG’s corporate d esignee,P atrickB rennan.

          3.      A ttached hereto as E x hibit2 is atru e and correctcopy of ex cerpts from the

   d eposition of D efend antE x perian Information Solu tions,Inc.’s (“E x perian”
                                                                                  )corporate d esignee,

   P atriciaFinneran.This ex hibitis red acted in compliance withS.D .Fla.L .R.5.4.

          4.      A ttached hereto as E x hibit3 is atru e and correctcopy of ex cerpts from the

   d eposition of E x perian’s corporate d esignee,Kimberly C ave.This ex hibitis red acted in

   compliance withS.D .Fla.L .R.5.4.

          5.      A ttached hereto as E x hibit4 is atru e and correctcopy of P laintiff O marSantos’

   E x perian cred itreportd ated J
                                  u ly 24,20 17 .This ex hibitis red acted in compliance withFed .R.

   C iv.P .Ru le 5.2.

          6.      A ttached hereto as E x hibit5 is atru e and correctcopy of P laintiff O marSantos’

   E x perian cred itreportd ated September5,20 17 .This ex hibitis red acted in compliance withFed .

   R.C iv.P .Ru le 5.2.




                                                    1
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           7.      A ttached hereto as E x hibit6 is atru e and correctcopy of P laintiff A mand a

   C lements’E x perian cred itreportd ated J
                                            u ly 25,20 17 .This ex hibitis red acted in compliance with

   Fed .R.C iv.P .Ru le 5.2.

           8.      A ttached hereto as E x hibit7 is atru e and correctcopy of P laintiff A mand a

   C lements’E x perian cred itreportd ated A u gu st22,20 17 .This ex hibitis red acted in compliance

   withFed .R.C iv.P .Ru le 5.2.

           9.      A ttached hereto as E x hibit8 is atru e and correctcopy of H RRG’s Second

   Su pplementalResponses to P laintiffs’FirstSetof Interrogatories.

           10 .    A ttached hereto as E x hibit9 are tru e and correctcopies of A u tomated C onsu mer

   D ispu te V erification (“A C D V ”
                                     )forms completed by H RRG and retu rned to E x perian following

   d ispu tes initiated by P laintiff Santos.

           11.     A ttached hereto as E x hibit10 are tru e and correctcopies of A C D V s completed by

   H RRG and retu rned to E x perian followingd ispu tes initiated by P laintiff C lements.

           12.     A ttached hereto as E x hibit11 is atru e and correctcopy of E x perian’s prod u ct

   information sheet.

           13.     A ttached hereto as E x hibit12 is atru e and correctcopy of E x perian’s Responses

   to P laintiffs’Requ estforA d missions.This ex hibitis red acted in compliance withS.D .Fla.L .R.

   5.4.

           14.     A ttached hereto as E x hibit13 is atru e and correctcopy of ad ispu te letter

   su bmitted to E x perian by P laintiff Santos regard ingthree H RRG-reported accou nts on J
                                                                                             u ly 27 ,

   20 17 .This ex hibitis red acted in compliance withFed .R.C iv.P .Ru le 5.2.




                                                     2
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          15.     A ttached hereto as E x hibit14 is atru e and correctcopy of ad ispu te letter

   su bmitted to E x perian by P laintiff C lements regard ingtwo H RRG-reported accou nts on J
                                                                                              u ly 26,

   20 17 .This ex hibitis red acted in compliance withFed .R.C iv.P .Ru le 5.2.

          16.     A ttached hereto as E x hibit15 is atru e and correctcopy of E x perian’s Responses

   to P laintiffs’Second Setof Interrogatories.This ex hibitis red acted in compliance withS.D .Fla.

   L .R.5.4.

          17 .    A ttached hereto as E x hibit16 is atru e and correctcopy of E x perian’s Second

   Su pplementalResponses to P laintiffs’Interrogatories 1,4,and 5.This ex hibitis red acted in

   compliance withS.D .Fla.L .R.5.4.

          18 .    P laintiffs requ estthe C ou rtd eny H RRG’s motion pu rsu antto Fed .R.C iv.P .Ru le

   56(d )becau se d iscovery is stillongoing,and as aresu lt,P laintiffs lackthe d iscovery necessary to

   properly respond to aspects of H RRG’s motion.

          19.     Specifically,H RRG makes severalargu ments regard ingcred itscoringmod els and

   how third parties view cred itreports,d iscovery into bothof these issu es is on going.

          20 .    D u ringthe d eposition of H RRG’s corporate d esignee,he was u nable to respond to

   certain qu estions regard inghow H RRG hand les d ispu tes and testified thatanotheremployee

   wou ld have thatknowled ge.(B rennan D ep.97 :12-98 :25.)P laintiffs have nottaken her

   d eposition.

          Id eclare u nd erpenalty of perju ry u nd erthe laws of the State of Florid a,thatthe

   foregoingis tru e and correct.E x ecu ted this 23rd d ay of September,20 20 .


                                                         /s/Jonas P. Mann




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